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 1                                     NOT FOR PUBLICATION
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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
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 9   Michael John Kaus,                                No. CV-15-02044-PHX-JJT
10                        Plaintiff,                   ORDER
11   v.
12   Equifax Information Services LLC, et al.,
13                        Defendants.
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16           Upon stipulation of the parties (Doc. 33), for dismissal as to Defendant JPMorgan
17   Chase Bank, N.A. only, and good cause appearing,
18           IT IS ORDERED that the above-entitled matter is hereby dismissed with
19   prejudice, as to Defendant JPMorgan Chase Bank, N.A. only, the parties to bear their
20   own costs and attorneys’ fees. JPMorgan Chase Bank, N.A. being the last remaining
21   defendant in this matter, and claims against all other having been dismissed with
22   prejudice, the Clerk of the Court shall close the matter.
23           Dated this 23rd day of September, 2016.
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                                           Honorable John J. Tuchi
26                                         United States District Judge
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